Case 4:17-cv-00893-ALM Document 186-2 Filed 01/14/19 Page 1 of 7 PageID #: 9051




                        Exhibit B
Case 4:17-cv-00893-ALM Document 186-2 Filed 01/14/19 Page 2 of 7 PageID #: 9052
           case 5:18-cv-00534-BLF Document 85 Filed 05/30/18 Page 1 of 5



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   10    Attorneys for Defendants
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   11    and HUA WEI TECHNOLOGIES CO., LTD.

   12

   13                             UNITED STATES DISTRICT COURT

   14                          NORTHERN DISTRICT OF CALIFORNIA

   15                                     SAN JOSE DIVISION

   16

   17    YIREN HUANG, an individual, and CNEX        Case No. 5: 18-cv-00534-BLF
         LABS, INC., a Delaware corporation,
   18                                                DECLARATION OF PAUL C. HASHIM
                          Plaintiff,                 IN SUPPORT OF DEFENDANTS'
   19                                                MOTION TO DISMISS OR, IN THE
                v.                                   ALTERNATIVE, TO TRANSFER, OR
   20                                                TO STAY PLAINTIFFS' FIRST
         FUTUREWEI TECHNOLOGIES, INC., a
                                                     AMENDED COMPLAINT
   21    Texas corporation, and HUA WEI
         TECHNOLOGIES CO., LTD., a Chinese           (Santa Clara County Superior Court Case
   22    corporation and DOES 1 through 10,
                                                     No . 17CV321153)
   23                     Defendants.                                     November 1, 2018
                                                     Date:
                                                     Time:                9:00a.m.
   24                                                Courtroom:           3-5th Floor
   25                                                Complaint Filed:     Dec. 28, 2017
                                                     FAC Filed:           Feb. 14,2018
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                                                              DECLARATION OF PAUL C. HASHIM
Case 4:17-cv-00893-ALM Document 186-2 Filed 01/14/19 Page 3 of 7 PageID #: 9053
           Case 5:18-cv-00534-BLF Document 85 Filed 05/30/18 Page 2 of 5



                                    DECLARATION OF PAUL C. HASHIM

     2   I, Paul C. Hashim, declare as follows:

     3          l.       I am Chief IP Counsel of Futurewei Teclmologies, Inc. ("Futurewei"). I have

     4   worked for Futurewei for nearly nine years. I have been Chief IP Counsel for Futurewei for the

     5   past five years. The following facts are true of my own personal knowledge, as to which I could

     6   competently testify.

     7          2.       I submit this declaration in support of Defendants' Motion to Dismiss or, in the

     8   Alternative, to Transfer, or to Stay Plaintiffs' First Amended Complaint.

     9          3.       My responsibilities as ChiefiP Counsel include oversight ofFuturewei's various

    I0   intellectual property (IP) functions, such as oversight of in-house counsel in connection with

    II   support of various Futurewei client research and development business units, evaluation of

    12   external service providers, procedural compliance of internal and external IP law support

    I3   functions, personnel training, recruiting of attorneys, agents and paralegals, employee

    I4   perfonnance evaluation and compensation, and accountability for assigned activities over which

    15   I have responsibility. I also assist with the development and administration of Futurewei policies

    I6   and guidelines, including agreements, procedures, and policies associated with protection of

    I7   Futurewei's trade secret and confidential information. I have knowledge of and am familiar with

    18   Futurewei' s corporate structure and the location of its principal place of business and corporate

    I9   headquarters.

   20           4.       Futurewei is a Texas corporation, with its principal place ofbusiness at 5340

   2I    Legacy Drive, Suite I75, Plano, Texas 75024. In particular, the principal place ofbusiness for

   22    the ownership and management of the intellectual property assets at issue in this dispute is in

   23    Plano, Texas.

    24          5.       Futurewei is a subsidiary ofHuawei Technologies Co., Ltd. ("Huawei"), which is

    25   a multinational networking and telecommunications equipment and services company

   26    headquartered in Shenzhen, Guangdong, China. Huawei develops, manufactures, and sells a

   27    diverse range of products that promote interconnectivity, including cellular mobile infrastructure

   28    equipment (e.g. base stations), routers, switches, security, and data and cloud storage devices.
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                                                                       DECLARATION OF PAUL C. HASHIM
Case 4:17-cv-00893-ALM Document 186-2 Filed 01/14/19 Page 4 of 7 PageID #: 9054
            Case 5:18-cv-00534-BLF Document 85 Filed 05/30/18 Page 3 of 5



                 6.      Since its establishment in 2001, Futurewei has grown to over 1,000 employees

     2   located in multiple offices throughout the United States, including Plano, Texas.

     3           7.      Since its establishment, Futurewei helped Huawei become one of the leading

     4   technology companies in the United States and the world, with annual revenues exceeding $70B.

     5           8.      As part ofhis employment with Futurewei, Yiren Huang signed an Employment,

     6   Confidentiality, Proprietary Information and Inventions Agreement on January 19, 2011 (the

     7   "Employment Agreement") to protect Futurewei and Huawei's ("Defendants") intellectual

     8   property during and after his employment with Futurewei. Attached hereto as Exhibit A is a true

     9   and correct copy of that Employment Agreement. The Employment Agreement provides for

    10   application ofTexas Law and venue in Texas courts.

    11           9.      Certain ofFuturewei's corporate departments, such as Finance, Payroll,

    12   Standards, and Intellectual Property, are headquartered in Texas. Moreover, certain employment

    13   records, including the Employment Agreement at issue in the parties' dispute, are located in

    14   Texas, as well as relevant documents concerning the confidential, proprietary, and trade secret

    15   information Futurewei alleges Mr. Huang used to create the patents in dispute.

    16           10.     During Huang's employment with Futurewei, he would have interacted with

    17   individuals in Futurewei' s HR and intellectual property law departments in Plano, Texas.

    18   Relevant interactions would have occurred telephonically, or via email.

   19            11.     Defendants' trade secret and confidential information is of great value to

   20    Defendants, and could give any competitor of Defendants, including Huang's current

   21    employer-CNEX Labs, Inc.-an unfair competitive advantage. Defendants routinely protect

   22    innovations developed by their respective employees by way of patents, where appropriate. In

   23    this regard, Futurewei in the United States- and Huawei globally- have filed multiple patent

   24    applications arising from three provisional patent applications originated by Mr. Huang during

   25    the course of his employment at Futurewei. Several patents have issued to date from these

   26    applications.

   27           12.      Witnesses and documents necessary to the claims and defenses in the litigation

   28    are located in Texas.
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                                                                       DECLARATION OF PAUL C. HASHIM
Case 4:17-cv-00893-ALM Document 186-2 Filed 01/14/19 Page 5 of 7 PageID #: 9055
           Case 5:18-cv-00534-BLF Document 85 Filed 05/30/18 Page 4 of 5



                13.    Futurewei asks prospective and current employees to review agreements before

     2   signing them. Futurewei 's practice is to allow employees to ask questions about the tenns of any

     3   agreements, and to attempt to address the questions to the extent possible. Employees are also

     4   allowed to seek the advice of their counsel before signing any agreements with Futurewei. As is

     5   the case with all Futurewei employees, Mr. Huang could request from Futurewei's HR

     6   Department a copy of his agreements with Futurewei at all times during his employment with

     7   Futurewei, and ask any questions of Futurewei HR and Legal Department personnel concerning

     8   such agreements.

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                                                                     DECLARATION OF PAUL C. HASHIM
Case 4:17-cv-00893-ALM Document 186-2 Filed 01/14/19 Page 6 of 7 PageID #: 9056
           Case 5:18-cv-00534-BLF Document 85 Filed 05/30/18 Page 5 of 5



                I declare under penalty of perjury under the laws of the United States of America that the

     2   foregoing is true and correct and was executed this   )::i~~y of May 2018, at Plano, Texas.
     3                                                          /~// ~
                                                            //~~J/Zp_~
     4                                                                 Paul C. Hashim

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                                                                       DECLARATION OF PAUL C. HASHIM
Case 4:17-cv-00893-ALM Document 186-2 Filed 01/14/19 Page 7 of 7 PageID #: 9057




           (Exhibit to Declaration Omitted as Duplicative)
